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By ECF

                                         September 16, 2020




Lewis A. Kaplan
United States District Judge
United States Courthouse
500 Pearl Street
New York, NY 10007

                                  Re:    United States v. Adel Abdel Bary
                                         98 Cr. 1023 (LAK)

Dear Judge Kaplan:

       Adel Abdel Bary respectfully moves this Court to grant this motion for
compassionate release under 18 U.S.C. § 3582(c)(1)(A) and to reduce his sentence to
time served. Should Your Honor grant this motion, Mr. Bary will be removed from the
United States and returned to the United Kingdom, specifically to his family in London.

Background

       Adel Abdel Bary was arrested in his home in London on July 11, 1999, based on a
warrant requesting his extradition to the United States. His extradition was sought in
connection with the August 7, 1998 bombings of the United States Embassies in Nairobi,
Kenya and Dares Salaam, Tanzania and the resulting horrific loss of life, numerous
injuries and destruction of property.

        After extensive litigation before the Court in the United Kingdom and the
European Union, Mr. Bary was extradited to the Southern District of New York on
October 6, 2012. His appearance was followed by extensive investigation and a
eventually negotiations with the Government. We were able to persuade the Government
that a guilty plea to significantly reduced charges would result in an appropriate
disposition. On October 1, 2014, Mr. Bary entered a guilty plea to an Information before
Your Honor.
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              On February 6, 2016, Your Honor sentenced Mr. Bary to 300 months of
incarceration. According to the Bureau of Prisons [BOP], Mr. Bary is scheduled to be
released on October 28, 2020. Under the terms of his extradition, upon his release, Mr.
Bary will be returned to the United Kingdom where he has been granted asylum from
Egypt.

Compassionate Release

       The First Step Act, 18 U.S.C. § 3582(c)(1(A)(i), allows federal prisoners to move
for compassionate release when “extraordinary and compelling reasons” warrant such
release. There are four prerequisites to a Court’s granting compassionate release under
the First Step Act:

       (1)     the defendant must have exhausted his administrative rights with the BOP;

       (2)     the Court must find that “extraordinary and compelling reasons warrant”
               release;

       (3)     the Court must consider the factors set forth in 18 U.S.C. § 3553(a) which
               in relevant part include;

               1.      The nature and circumstances of the offense and the history and
                       characteristics of the defendant; 18 U.S.C. Section 3553(a)(1)

               2.      The need for the sentence imposed; 18 U.S.C. Section 3553(a)(2)
                       to reflect the seriousness of the offense, to promote respect for the
                       law, and to provide just punishment for the offense.

                       to afford adequate deterrence to criminal conduct (general
                       deterrence).

                       to protect the public from further crimes of the defendant (specific
                       deterrence).

                       to provide the defendant with needed educational or vocational
                       training, medical care, or other correctional treatment in the most
                       effective manner.
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       (4)     the Court must find that release is consistent with the Sentencing
               Commission’s policy statements at U.S.S.G § 1B1.13 which includes that
               extraordinary and compelling circumstances that warrant the granting of a
               motion for compassionate release include certain medical conditions (See,
               U.S. v. Glover, 2020 WL 4923635, at *4, (D.D.C. August 21, 2020); and
               that the defendant is not a danger to the safety of any other person or to the
               community. See, United States v. Ganeene Goode, No 14-cr-810 (CM),
               Dkt, No 514 at 3 (S.D.N.Y. Aug. 10, 2020).

Mr. Bary Has Exhausted His Administrative Remedies

       Prior to petitioning the Court, § 3582 requires Mr. Bary to either exhaust his
administrative remedies with the BOP or wait 30 days following the warden’s receipt of
his compassionate release request, whichever happens first. See 18 U.S.C. §
3582(c)(1)(A); see also United States v. Field, 18 Cr 426 (JPO), [Dkt. 38] at *2
(S.D.N.Y. May 4, 2020) (deeming claim ripe for judicial review 30 days after the
defendant submitted a request to warden, where warden denied the claim within the 30-
day period); United States v. Cooper, 8 CR 356 (KMK), [Dkt. 181], at *7 (S.D.N.Y. Apr.
28, 2020) (“the application is now fully exhausted, based on BOP’s denial of the
application on April 17, 2020.”).

       Mr. Bary has fulfilled the exhaustion prerequisite. He sent request for
compassionate release to Staff of FCI Fairton on May 26, 2020 which was denied. See
Exhibit A. Because Mr. Bary has fulfilled the statute’s administrative exhaustion
requirement, the Court has authority to address the merits of his petition.

Extraordinary and Compelling Reasons

       Mr. Bary’ confinement at a BOP facility in the middle of a pandemic that is
ravaging inmates and staff, and his medical needs, make him particularly susceptible to
sickness and complication should he contract the virus. These combined concerns
constitute an extraordinary and compelling reason for his release under 18 U.S.C. §
3582(c)(1)(A)(i).

        While there are many unknowns about the virus, one thing is clear: COVID-19 is
deadly and highly contagious. The CDC advises that the coronavirus is “spread mainly
from person-to-person . . . [b]etween people who are in close contact with one another . .
. [t]hrough respiratory droplets produced when an infected person coughs or sneezes.”
The droplets can land in the mouths or noses, or can be inhaled into the lungs, of people
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who are within about six feet of the infected person. Those who are infected can spread
the virus, even if they are asymptomatic. There is no known treatment, vaccine, or cure
for COVID-19 and citizens are warned daily to practice social distancing and to take
precautions when exposed to other individuals, even on a limited basis. The CDC has
advised that individuals of any age who have serious underlying medical conditions
might be at a higher risk for severe illness from COVID 19.

       COVID-19 cases have been spreading rapidly at multiple BOP facilities, and
containment has proved to be impossible. Bureau of Prisons staff come and go every
day, and although efforts are made to limit inmates’ transport and transfer, due to the
communal nature of the living arrangements and the inability of inmates to self-isolate
and regularly wash and sanitize their hands, correctional facilities pose a unique risk to
both inmates and staff.

        On March 27, 2020, more than 400 former DOJ leaders, attorneys, and federal
judges sent an open letter to the President, asking that he take immediate action to reduce
the population in correctional facilities to prevent the catastrophic spread of COVID-19,
in particular by commuting the sentences of elderly and medically vulnerable inmates
who have already served a majority of their sentences. Leading public health experts
made a similar request, as did members of Congress. On April 3, 2020, Attorney General
Barr issued a memorandum directing the BOP to move vulnerable prisoners into home
confinement with due “dispatch.” On April 10, 2020, members of Congress wrote again
to Attorney General Barr, noting that several inmates had since died in BOP custody,
many of whom had pre-existing medical conditions.

        Judges throughout the country are responding to this crisis and heeding advice of
medical experts by releasing vulnerable inmates from overcrowded facilities. I am sure
that this Court is aware of the many instances of compassionate release being ordered in
this District as the string-cites of those many cases is now as long as many briefs
requesting release.

       According to the BOP’s website, FCI Fairton houses a total of 927 inmates. 1 FCI
Fairton is unusual in the BOP system as 923, almost all of the inmates, have been tested.
The test results are alarming. Again, according to the BOP’s own information, 102
inmates almost 10% of the inmate population, has tested positive at FCI Fairton which is
more than twice the national average infection rate for the general public. 2

1
    https://www.bop.gov/locations/institutions/fai/index.jsp (last visited on September 15, 2020.)
2
    https://www.bop.gov/coronavirus (last visited on September 15, 2020.)
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Health Concerns

       We are living in the midst of a worldwide pandemic due to the emergence of
COVID-19, a virus which is new to medical science. While our knowledge of this
disease increases on a near daily basis, we currently have no vaccine and no proven
course of treatment. According to the New York Times, as of September 15, 2020, over
6,500,000 Americans have been infected with COVID-19 and over 194,000 Americans
died of COVID-19. These numbers may well have been dwarfed by the time Your Honor
decides this motion.

       Mr. Bary faces real danger should he contract COVID-19. Mr. Bary, who is 60
years old, suffers from asthma. See portion of BOP medical records attached as Exhibit
B. The CDC has advised that older adults (people in their 60s) suffering from underlying
conditions, such as asthma, are at an increased risk of severe illness from COVID-19. 3

       Mr. Bary’s continued incarceration now significantly increases his risk of
infection, which could wreak disastrous health outcomes. In sentencing Mr. Bary, the
Court did not intend to impose a life sentence. The Court should release Mr. Bary to
avoid precisely that outcome. See, e.g., United States v. Valencia, 2020 WL 2319323, at
*7 (S.D.N.Y. May 11, 2020, J. Torres) (“The Court did not intend that Valencia’s
sentence ‘include incurring a great and unforeseen risk of severe illness or death’ brought
on by a global pandemic.”) (quotation marks and citations omitted); United States v.
Bess, 2020 WL 1940809, at *10 (W.D.N.Y. April 22, 2020, J. Vilardo) (granting
compassionate release to defendant sentenced to 84 months less than a year earlier,
explaining “[t]his Court is now even more convinced that unless it lowers Bess’s
sentence, there is a substantial risk that he will become seriously ill and, with an
unsettlingly high degree of probability, serve a life sentence.”).

Release Plan

       Mr. Bary’s release plan was established before he arrived in this District. By
granting this motion, Your Honor will start the process of returning Mr. Bary to his
family in London. This plan was established in the extradition arrangement that brought
him from the United Kingdom. He will never walk the streets of any town or city in the
United States.




3
    See, CDC Guidelines at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/older-adults.html
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18 U.S.C. § 3553(a) Factors

       When extraordinary and compelling reasons are established, the Court must
consider the relevant sentencing factors in § 3553(a) to determine whether a sentence
reduction is warranted.

       Here, the overriding factor under § 3553(a) that was not present at the time of
sentencing is the COVID-19 pandemic and the serious risk it presents to Mr. Bary’s
health and safety. The purpose of just punishment does not warrant a sentence that
includes exposure to a life-threatening illness. In fact, the Eighth Amendment’s
prohibition on cruel and unusual punishment includes unreasonable exposure to
dangerous conditions in custody. “It is cruel and unusual punishment to hold convicted
criminals in unsafe conditions.” Helling v. McKinney, 509 U.S. 25, 33 (1993) (quotation
marks and citations removed); see also Wallis v. Baldwin, 70 F.3d 1074, 1076 (9th Cir.
1995) (applying Helling to exposure to asbestos); Brown v. Mitchell, 327 F. Supp. 2d
615, 650 (E.D. Va. July 28, 2004) (applying Helling to “contagious diseases caused by
overcrowding conditions”).

       The Eighth Amendment also guarantees inmates in BOP custody the right to
adequate medical care for a serious medical need. See Farmer v. Brennan, 511 U.S. 825,
832 (1994); Estelle v. Gamble, 429 U.S. 97, 103–05 (1976). One court recently invoked
the Eighth Amendment in granting a motion for compassionate release, noting that “a
reduction of [defendant’s] sentence will enable him to seek, from the doctors and
hospitals of his choice, what may be better medical care than the BOP is obligated or able
to provide, particularly given the very real threat that COVID-19 poses in the institutional
environment.” United States v. Williams, 2020 WL 1751545 (N.D. Fla. Apr. 1, 2020).

        In determining whether, and, to what extent, to reduce the sentence, this Court
must take into consideration not only the offense conduct and the need for the sentence to
reflect the seriousness of the offense and provide just punishment, but also all of the other
§ 3553(a) factors, including Mr. Bary’s history and characteristics, the need to afford
adequate deterrence, the need to protect the public from further crimes of the defendant,
and the need for rehabilitation. Mr. Bary has served almost the entirety of his very
substantial sentence.

      Most importantly, Mr. Bary is not a danger to the community. He has never
advocated violence and the organization that he had associated with more than 20 years
ago has been reduced to a historical relic. We seek compassionate release to ensure that
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Mr. Bary does not die of a virus on the eve of rejoining his family after decades of
separation.
       Granting this motion comports with the goals of sentencing as the goal of most
sentences is that they should end and the defendant be returned to society and his family.
       In the time of worldwide pandemic, tempering justice with mercy supports that
ultimate goal of sentencing
Conclusion

        Nobody could have foreseen at the time of sentencing that this pandemic would
occur. This pandemic demands that we reconsider sentences that were imposed when
inmates were not put in grave danger by virtue of their conditions of confinement.
COVID-19 is highly transmissible and extraordinarily dangerous and poses a severe
threat of death to inmates such as Mr. Bary who have no ability to protect themselves
from infection. Mr. Bary’s vulnerability to contracting and potentially succumbing to this
deadly disease constitutes “extraordinary and compelling reasons” to grant
compassionate release and to reduce his sentence to time served.

                                          Respectfully submitted,

                                           /s/Andrew Patel
                                          Andrew G. Patel

encl.

cc:     All counsel by ECF
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                Exhibit A
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 BP-P.l48 .055                        INMATE REQUEST 'l'O STAFF corRM
 SEP ~8
 U. S. DEPARTMENT OF JUSTICE                                                   FEDERAL. BUREAU OF PRISONS

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                 Exhibit B
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                                                                Bureau of Prisons
                                                                 Health Services
                                                                Clinical Encounter
Inmate Name: BARY, ADEL ABDEL                                                                                 Reg #: 67496-054
Date of Birth: 04/24/1960                                        Sex:      M   Race: WHITE                    Facility: FAI
Encounter Date: 04/30/2020 14:31                                 Provider: Knowles, Kyle PA-C                 Unit:     C02


Mid Level Provider- Follow up Visit encounter performed at Health Services.
SUBJECTIVE:
     COMPLAINT 1                      Provider: Knowles, Kyle PA-C
        Chief Complaint: PULMONARY/RESPIRATORY
        Subjective: 60 year old male patient with PMH of asthma, presents for follow up visit regarding shortness
                     of breath. Patient reports intermittent SOB due to asthma. He states this mainly occurs at
                     night, and that most nights he awakens from sleep with asthma symptoms. He admits
                     intermittent productive cough. He reports intermittent wheezing. He states he uses albuterol
                     three to four times per week. He is also prescribed Asmanex 220 mcg/inh 2 puffs by mouth at
                     bedtime, with which he reports compliance. He states his asthma is worse during the spring
                     season.
        Pain:        No

OBJECTIVE:
Temperature:
     .D.ate.          IiJ:M               Fahrenheit        Celsius Location                  Provider
     04/30/2020        14:37 FAI                   98.4          36.9 Oral                    Knowles, Kyle PA-C

 Pulse:
     .D.ate.        IiJ:M                Rate Per Minute           Location                   Rhythm      Provider
     04/30/2020 14:37 FAI                                  62      Via Machine                Regular     Knowles, Kyle PA-C
. Respirations:
     .D.ate.                .Ii.mJt               Rate Per Minute Provider
     04/30/2020             14:37 FAI                               18 Knowles, Kyle PA-C
 Blood Pressure:
     .D.ate.        IiJ:M             ~              Location           Position             Cuff Size    Provider
     04/30/2020 14:37 FAI              112/73        Right Arm          Sitting                           Knowles, Kyle PA-C
 Wright Peak Flow:
     .D.ate.        IiJ:M                Attempt 1 Attempt 2 Attempt 3 .EffQrt                      Bronchodilator Provider
     04/30/2020 14:38 FAI                          450            350             350 Fair          Without          Knowles, Kyle PA-C
 Sa02:
     .D.ate.           IiJ:M              Value{%)        Air                       Provider
     04/30/2020        14:37 FAI                    98 Room Air                     Knowles, Kyle PA-C
 Weight:
     .D.ate.          IiJ:M                     .Lb.&.      Kg. Waist Circum. Provider
      04/30/2020       14:37 FAI            230.0         104.3               Knowles, Kyle PA-C

Exam:
   General
           Affect
                Yes: Pleasant, Cooperative
           Appearance

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